        Case 4:21-cv-00040-TWT Document 393 Filed 06/20/23 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                             ROME DIVISION

EARL PARRIS, JR., individually, and                 )
on behalf of a Class of persons similarly           )
situated,                                           )
                                                    )
                        Plaintiff,                  )
                                                    )
                                                    )   Civil Action No.
CITY OF SUMMERVILLE,                                )
GEORGIA,                                                4:21-cv-00040-TWT
                                                    )
                       Intervenor-Plaintiff,        )
                                                    )
       v.                                           )
3M COMPANY, et al.,                                 )
                                                    )
                        Defendants.


                              CERTIFICATE OF SERVICE

       I hereby certify that Plaintiff’s Notice of Deposition of Defendant

Mount Vernon Mills, Inc., and Ron Beegle, was served via electronic mail to all

parties of interest.

       This the 20th day of June, 2023.

                                               Respectfully Submitted,

                                               /s/ Gary A. Davis
                                               Gary A. Davis (phv)
                                               Keith A. Johnston (phv)
       Case 4:21-cv-00040-TWT Document 393 Filed 06/20/23 Page 2 of 2




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                                         Attorneys for Plaintiffs


                     CERTIFICATE OF COMPLIANCE

      Pursuant to Northern District of Georgia Civil Local Rule 7.1(D), the

undersigned counsel certifies that the foregoing filing is prepared in Times New

Roman point font, as mandated in Local Rule 5.1(C).

      This the 20th day of June, 2023.

                                         /s/ Gary A. Davis




                                           2
